  Case 2:19-cv-06405-GRB-SIL Document 8 Filed 02/10/20 Page 1 of 2 PageID #: 39
                                                                                            FILED
                                                                                            CLERK
                                                                                11:02 am, Feb 10, 2020
UNITED STATES DISTRICT COURT                                                       U.S. DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                                  EASTERN DISTRICT OF NEW YORK
                                                                                   LONG ISLAND OFFICE
ILKB, LLC.,
                                              Plaintiffs,

                     v.
                                                                Civil Action No. 19-cv-6405-GRB-SIL

JIM HARRER and BEST HOUR FITNESS, INC.,
                                  Defendants.


                              NOTICE OF VOLUNTARY DISMISSAL

             NOTICE IS HEREBY GIVEN that Plaintiff ILKB, LLC, through its undersigned

  counsel, dismisses the above-captioned action against Defendants Jim Harrer and Best Hour

  Fitness, Inc. without prejudice to its right to file future lawsuits or otherwise seek redress of its

  grievances through alternative dispute resolution.

             Such dismissal is proper and no court order is required because the opposing party has

  not yet appeared nor filed an answer or motion for summary judgment. See Fed. R. Civ. P.

  41(a)(1)(A)(i) (plaintiff may dismiss an action without a court order in such circumstances).

                                                Respectfully Submitted,

  Dated: February 7, 2020                       NIXON PEABODY LLP
         Jericho, New York

                                                By:     /s/ Daniel C. Gibbons
                                                        Daniel C. Gibbons
                                                        Marissa A. Muscarella

 SO ORDERED.                                    50 Jericho Quadrangle, Suite 300
 The Clerk is directed to mark this case        Jericho, New York 11375
 closed.                                        T: (516) 832-7500
                                                F: (516) 832-7555
 Dated: 2/10/2020                               dgibbons@nixonpeabody.com
               /s/ GARY R. BROWN                mmuscarella@nixonpeabody.com
               Gary R. Brown, U.S.D.J.
                                                Attorneys for Plaintiff ILKB, LLC

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on February 7, 2020.

                                              /s/ Daniel C. Gibbons
                                              Daniel C. Gibbons




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